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                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF MICHIGAN
                          NORTHERN DIVISION

WILLIAM JOHNSON, JILL JOHNSON, and
SECOND AMENDMENT FOUNDATION,
INC.,
                                                No. 17-CV-00124-PLM-MV
      Plaintiffs,
                                                HON. PAUL L. MALONEY
v.
                                                MAG. MAARTEN VERMAAT
NICK LYON, in his official capacity as
Director of the Michigan Department of Health
and Human Services,

      Defendant.


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                          JOINT STATUS REPORT
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       As directed by the Court, the parties submit this Joint Status Report.

       The parties have been conducting the following discussions, which if enacted

would resolve Plaintiffs’ Second Amendment Claims against State Defendant.

       1.    The drafting and implementation of a revised Rule 400.9415.

       2.    Implementation of various training measures.

       3.    A settlement agreement which would include a resolution of Plaintiffs’

             claim for attorney’s fees or an agreement to place said issue before the

             Court.

       Plaintiff and State Defendant approved revisions to Rule 400.9415, and State

Defendant is currently implementing this Rule.

       The parties suggest a follow-up status report on or before June 14, 2021.


Date: April 30, 2021                   /s/ Cassandra A. Drysdale-Crown
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Date: April 30, 2021                   /s/ David G. Sigale
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